Case 1:05-cr-00558-TWT-JFK Document 478 Filed 07/14/15 Page 1 of 4
      Case 1:05-cr-00558-TWT-JFK Document 478 Filed 07/14/15 Page 2 of 4




I. DISCUSSION

       “Although no statute or rule expressly provides for the filing of a motion for

reconsideration in criminal cases, federal district courts necessarily have

substantial discretion in ruling on motions for reconsideration.”

United States v. Jewett, No. 09-00076-KD, 2009 U.S. Dist. LEXIS 75021, at *1

(S.D. Ala. Aug. 24, 2009) (internal quotations and citations omitted). The

appropriate grounds for granting reconsideration include: “(1) an intervening

change in controlling law; (2) the availability of new evidence; and (3) the need to

correct clear error or manifest injustice.” Id.; see also Jersawitz v. People TV, 71

F. Supp. 2d 1330, 1344 (N.D. Ga. 1999) (discussing motions for reconsideration in

the civil action context); Pres. Endangered Areas of Cobb’s History, Inc. v. U.S.

Army Corps of Eng’rs, 916 F. Supp. 1557, 1560 (N.D. Ga. 1995), aff’d, 87 F.3d

1242 (11th Cir. 1996) (“A motion for reconsideration is not an opportunity for the

moving party and their counsel to instruct the court on how the court ‘could have

done it better’ the first time.”).1

1
 The Eleventh Circuit has considered motions for reconsideration in criminal cases
only in the limited context of considering whether these motions may act as tolling
motions for purposes of filing a timely appeal. See United States v. Vicaria, 963
F.2d 1412, 1413-14 (11th Cir. 1992) (“[A] motion for reconsideration of a district
court order in a criminal action is not expressly authorized by the Federal Rules of
Criminal Procedure . . . .”). The Court, nonetheless, believes it has discretion to
grant a reconsideration motion if there is sufficient reason to do so.

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     Case 1:05-cr-00558-TWT-JFK Document 478 Filed 07/14/15 Page 3 of 4




      On June 22, 2015, the Court entered its order reducing Defendant’s sentence

from 177 to 162 months as a result of the United States Sentencing Commission

revision of the USSG §1B1.10 drug tables by reducing each enhancement by two

points. In making its reduction, the Court considered the original sentence

imposed on Defendant, the credit Defendant received for his substantial assistance

under USSG § 5K1.1 and the criteria set forth under 18 U.S.C. § 3553. In doing

so, the Court concluded that a reduction in Defendant’s custodial sentence to 166

months was the appropriate reduction under these circumstances. The Court

acknowledges that Defendant has had good conduct while incarcerated and has

been laudably successful in his academic accomplishments. Upon review,

however, the Court concludes that the reduction granted on June 22, 2015, is the

appropriate reduction to be made and finds there is no further basis upon which to

reconsider the Court’s Order Regarding Motion for Sentence Reduction Pursuant

to 18 U.S.C. § 3582(c)(2).

II. CONCLUSION

      For the reasons stated above,

      IT IS HEREBY ORDERED that Defendant’s Motion for Reconsideration

[477] is DENIED.




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Case 1:05-cr-00558-TWT-JFK Document 478 Filed 07/14/15 Page 4 of 4




SO ORDERED this 14th day of July, 2015.


                          _______________________________
                          WILLIAM S. DUFFEY, JR.
                          UNITED STATES DISTRICT JUDGE




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